                         6:23-cr-00201-KFM Date Filed 03/28/23 Entry Number 5 Page 1 of 1
                            Case 1:23-mj-00065-ZMF Document 5 Filed 03/28/23 Page 1 of 1
AO 442 (Rev. I 1/1 I) Arrest Warrant



                                            UNITED STATES DISTRICT COURT
                                                                            for the

                                                                  District of Columbia

                    United States of America
                                   V.
                                                                                   Case: 1:23-mH35
                 Thomas Andrew Casselman                                          Assigned To: Magistrate Judge Zia M. Fan.Jqui
                                                                                  Date: 3/24/2023
                                                                                   Description: Compl,a int with Arrest Warrant
                                Defendant


                                                             ARREST WARRANT
To:        Any authorized law enforcement officer


           YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name ofperson to be an-ested)                                               Thomas Andrew Casselman
who is accused of an offense or violation based on the following document filed with the court:

0 Indictment                0    Superseding Indictment             0 Information          0 Superseding Information                    N    Complaint
0 Probation Violation Petition                 0 Supervised Release Violation Petition                  □ Violation        Notice        O Order of the Court

  18    U.S.C. §§ 111 (a)(!) and (b): Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous Weapon;
  18    U.S.C. § 23l(a)(3) : Civil Disorder;
  18    U .S .C. § l 752(a)(l): Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority;
  18    U.S.C. § l 752(a)(2): Disorderly or Disruptive Conduct in any Restricted Building or Grounds;
  18    U.S.C . §§ l 752(a)(4) and (b)(l)(a) : Physical Violence in any Restricted Building or Grounds while using or carrying a dangerous weapon;
  40    U.S.C. § 5104(e)(l)(A)(i): Carrying a Dangerous Weapon on Capitol Grounds;
  40    U.S .C. § 5104(e)(2)(D): Disorderly or Disruptive Conduct, at any place in the Grounds or in any of the Capitol Buildings; and
  40    U.S.C. § 5104(e)(2)(F): Act of Physical Violence in the Grounds or any of the Capitol Buildings.


                                                                                                Zl·a M • Fa ruq U 1' Digitally signed by Zia M.Faruqul
                                                                                                                     Date: 2023.03.24 15:32:11 --04'00'
Date:            03/24/2023
                                                                                                         Issuing officer 's signature

City and state:                     Washington, D.C.                                        Hon. Zia M. Faruqui, U.S. Magistrate
                                                                                            Judge     Printed name and title


                                                                          Return

           This warrant was, rei/Jd on (da~e)
at (city and state)   ~ e;,             J""
                                         S C,
